  Case: 4:18-mj-03283-NCC Doc. #: 19 Filed: 03/24/22 Page: 1 of 1 PageID #: 62




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

  IN THE MATTER OF THE SEARCH OF:                   )
                                                    )
  ASUS Notebook PC, Model no. ZL3, Serial           )
  no. LXTAH0600653400AC5EMS00                       )   No. 4:18 MJ 3283 NCC
  Compaq Personal Computer, model no.               )
  Presario CQ5814, serial no. 3CR11918R7.           )
                                                    )
                                                    )
                                                    )


         GOVERNMENT’S MOTION FOR ORDER UNSEALING DOCUMENTS

       COMES NOW the United States of America, by and through the United States Attorney

for the Eastern District of Missouri, and Robert F. Livergood, Assistant United States Attorney for

said District, and moves the Court for an order directing the Clerk of the District Court, without

further notice to the government, to unseal the warrant along with the application, affidavit, return

and other related documents filed in this matter.

                                                        Respectfully submitted,

                                                        SAYLER A. FLEMING
                                                        United States Attorney

                                                        /s/ Robert F. Livergood
                                                        ROBERT F. LIVERGOOD, #35432MO
                                                        Assistant United States Attorney

                                                        Signed this 24th day of March 2022.
